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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

PHILLIP L. THOMAS
7649 Fir Drive
Temperance, MI 48182,

And

KRISTINE N. THOMAS

7649 Fir Drive

Temperance, MI 48182,
Plaintiffs,

Vv.

EDWARD F. POSLUSZNY, DDS

4841 Monroe St, Suite 260
Toledo, OH 43623,

WESTERN DIVISION

CASE NO.

JUDGE

COMPLAINT

Trial Counsel:

Alan L. Mollenkamp (0006648)
Arthur C. Ingram (0009675)
MOLLENKAMP & INGRAM

411 N. Michigan, Suite 300
Toledo, OH 43604

Defendant. PH: 419-244-7500
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Attorney for Plaintiffs

1. The Plaintiffs are citizens of the State of Michigan and

the Defendant is a citizen of the State of Ohio. The amount in

controversy without interest and cost exceeds the Seventy-five

Thousand ($75,000.00) Dollars.
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2. Plaintiffs say that the Plaintiff Phillip L. Thomas came
under the care and treatment of the Defendant for his dental needs
for several years, up through and including the year 2015. Further
Plaintiffs say that on or about September 26, 2016 Plaintiff served
upon the Defendant notice extending the statute of limitations in
this matter 180 Days.

3. Dental care and treatment given by the Defendant was
negligent and such negligent dental care and treatment proximately
caused injuries to the Plaintiff Phillip L. Thomas requiring him to
undergo multiple procedures and incur expenses in excess of Thirty
Thousand ($30,000.00) Dollars. In addition to incurring these
expenses Plaintiff Phillip L. Thomas was subject to great pain of
body and mind, suffered a loss of enjoyment of life, was prevented
from transacting his normal business, and is informed and believes
that the effects of said injuries are permanent in nature.

4, Plaintiff Kristine N. Thomas restates the preceding
paragraphs and says that at all times she has been the spouse of
the Plaintiff Phillip L. Thomas and as a direct and proximate
result of the injuries sustained by him has been deprived of his
services, companionship, affection and consortium, and she is
informed and believes that such deprivation is permanent in nature.

WHEREFORE, Plaintiffs demand judgment against the Defendant in
an amount in excess of Seventy-five Thousand ($75,000.00) Dollars

with interest and costs.
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Respectfully submitted,
MOLLENKAMP & INGRAM
/s/ Alan L. Mollenkamp

Alan L. Mollenkamp
Attorney for Plaintiffs

ALM/mjf
March 14, 2017
17-107
